               Case 4:08-cv-04373-JSW Document 389 Filed 03/30/18 Page 1 of 2




 1   CHAD A. READLER
     Acting Assistant Attorney General
 2
     ANTHONY J. COPPOLINO
 3   Deputy Branch Director
 4   JAMES J. GILLIGAN
     Special Litigation Counsel
 5
     RODNEY PATTON
 6   Senior Trial Counsel
 7   JULIA A. BERMAN
     TIMOTHY A. JOHNSON
 8   OLIVIA SCOTT HUSSEY
     Trial Attorneys
 9
     U.S. Department of Justice
10   Civil Division, Federal Programs Branch
     20 Massachusetts Avenue, N.W., Room 7320
11   Washington, D.C. 20001
     E-mail: rodney.patton@usdoj.gov
12   Phone: (202) 305-7919
     Fax:     (202) 616-8470
13
     Attorneys for the Government Defendants
14   Sued in their Official Capacities
15                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
16                                   OAKLAND DIVISION
     _______________________________________
17                                           ) Case No. 4:08-cv-04373-JSW
                                             )
18     CAROLYN JEWEL, et al.,                ) NOTICE OF FILING OF REDACTED
                                             ) VERSION OF THE CLASSIFIED
19                            Plaintiffs,    ) DECLARATION THE GOVERNMENT
                                             ) DEFENDANTS LODGED WITH THE
20                      v.                   ) COURT IN CAMERA AND EX PARTE
                                             ) ON FEBRUARY 16, 2018
21     NATIONAL SECURITY AGENCY, et al., )
                                             ) Hon. Jeffrey S. White
22                            Defendants.    ) Courtroom 5, 2nd Floor
                                             ) Oakland Courthouse
23   _______________________________________)
24
             Defendants National Security Agency (NSA), the Department of Justice, the United
25
     States of America, Donald J. Trump, in his official capacity as President of the United States;
26
     Daniel Coats, in his official capacity as Director of National Intelligence; Admiral Michael S.
27
     Rogers, in his official capacity as Director of the NSA; and Jefferson B. Sessions, III, in his
28


     Notice of Filing of Redacted Version of the Classified Declaration the Government Defendants Lodged With the
     Court, Jewel v. National Security Agency (4:08-cv-04373-JSW)
               Case 4:08-cv-04373-JSW Document 389 Filed 03/30/18 Page 2 of 2




 1   official capacity as Attorney General of the United States (collectively, the “Government
 2   Defendants”), hereby give notice that they are filing, as an attachment hereto, a redacted,
 3   unclassified version of the Classified Declaration of Michael S. Rogers, Director of the National
 4   Security Agency, which was lodged with the Court Information Security Officer on February 16,
 5   2018, for the Court’s in camera, ex parte consideration. See Government Defendants’ Notice of
 6   Submission of Their Classified and Unclassified Responses to the Court’s May 22, 2017 Order,
 7   ECF No. 388.
 8   Dated: March 30, 2018
 9                                                          Respectfully submitted,
10                                                          CHAD A. READLER
                                                            Acting Assistant Attorney General
11
                                                            ANTHONY J. COPPOLINO
12                                                          Deputy Branch Director
13                                                          JAMES J. GILLIGAN
                                                            Special Litigation Counsel
14
                                                             /s/ Rodney Patton
15                                                          RODNEY PATTON
                                                            Senior Trial Counsel
16
                                                            JULIA A. BERMAN
17                                                          TIMOTHY A. JOHNSON
                                                            Trial Attorneys
18
                                                            U.S. Department of Justice
19                                                          Civil Division, Federal Programs Branch
                                                            20 Massachusetts Avenue, N.W., Room 7320
20                                                          Washington, D.C. 20001
                                                            E-mail: rodney.patton@usdoj.gov
21                                                          Phone: (202) 305-7919
                                                            Fax:     (202) 616-8470
22
                                                            Attorneys for the Government Defendants
23                                                          Sued in their Official Capacities
24
25
26
27
28
     Notice of Filing of Redacted Version of the Classified Declaration the Government Defendants Lodged With the
     Court, Jewel v. National Security Agency (4:08-cv-04373-JSW)
                                                            2
